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                                           189268



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON                     Civil No. 3:16- 2738 (MAS)(RLS)
  TALCOM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCT LIABILITY
  LITIGATION

  This Document Relates to:
  Michelle & Michael Paolercio

  Case No. 3:24-7757

                                       NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint and Jury Demand was filed on July 15, 2024 on

  behalf of Plaintiffs, Michelle Paolercio and Michael Paolercio.

  DATES: July 15, 2024                         Respectfully Submitted

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on July 15, 2024, a copy of the forgoing Notice of Filing was filed

  via the Court’s CM/EFS electronic filing system. Notice of Filing will be sent by operation of

  the Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties

  may access this filing through the Court’s system.

                                                 Respectfully Submitted



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